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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                       CRIMINAL 09-0165CCC
1) JOEL RIVERA-ALEJANDRO
2) CARLOS RIVERA-ALEJANDRO
3) ALEXIS RIVERA-ALEJANDRO
4) ANGEL BETANCOURT-RIVERA
5) ROBERTO C. FONTANEZ-VEGA
6) ABIMAEL SERRANO-FIGUEROA
7) CARLOS E. RIVERA-RIVERA
8) ISMAEL RIVERA-SANTOS
9) JOSE GARCIA-RODRIGUEZ
10) CARLOS GONZALEZ-FRANCO
11) NATHANAEL RUIZ-ORTEGA
12) ANGEL LOPEZ-MALDONADO
13) JOSE RIVERA-SIERRA
14) JUAN RIVERA-GEORGE
15) JULIO ALEXIS ORTIZ-BERRIOS
16) CARLOS A. RIVERA-RIVERA
17) MIGUEL ANGEL VEGA-DELGADO
18) VALERIE RIVERA-DEYA
19) SUANETTE RAMOS-GONZALEZ
20) JOSE L. FIGUEROA-CAMILO
21) ROSARIO RIVERA-GUZMAN
22) JAIME LOPEZ-CANALES
23) JUAN GONZALEZ-RAMOS
24) HECTOR RIVERA-BETANCOURT
25) ANGEL LUIS BETANCOURT-ORTIZ
26) RICARDO BETANCOURT-ORTIZ
27) JOSE LUIS DIAZ-FIGUEROA
28) JUAN GARCIA-RODRIGUEZ
29) LUIS X. RIVERA-RIVERA
30) JOSE TRINIDAD-PAGAN
31) EDGARDO RUIZ-TORRES
32) BIENVENIDO LOPEZ-CRUZ
33) JOSE E. PEÑA-MARTINEZ
34) RAUL TORRES-SANTANA
35) DAVID A. BULTRON-FLORES
36) KAREN LISBETH
FIGUEROA-GALLARTUA
37) JORGE L. CRUZ-MALDONADO
38) JOSE L. TORRES-AGOSTO
39) VICTOR CASTRO-RODRIGUEZ
40) OSVALDO PEREZ
41) JUAN GABRIEL DE LA
CRUZ-GUZMAN
42) ROBERTO BRUNO-DIAZ
43) LUIS E. SANCHEZ-ENCARNACION
44) JONATHAN CARRASQUILLO-COLON
45) NOEL RODRIGUEZ-ADORNO
46) ADDIER ENCARNACION-CRUZ
47) IDALIA MALDONADO-PENA
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 48) JAIME RIVERA-NIEVES
 49) DOLORES ALEJANDRO
 50) MANUEL ANTONIO
 FERRER-HADDOCK
 51) RUBEN DELGADO-MALDONADO
 52) MARLENIS
 CARRASQUILLO-QUIÑONES
 53) ANGEL LUIS RIVERA-RIVERA
 54) HECTOR ORTIZ-MARQUEZ
 55) RAMON RODRIGUEZ-IDELFONSO
 Defendants


                                        ORDER

      Having considered the Report and Recommendation filed on April 23, 2011 (docket
entry 1919) on a Rule 11 proceeding of defendant Héctor Rivera-Betancourt (24) held
before U.S. Magistrate Judge Bruce J. McGiverin on April 20, 2012, to which no opposition
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant
Rivera-Betancourt (24) is accepted. The Court FINDS that his plea was voluntary and
intelligently entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since April 20, 2012. The sentencing hearing is set for July 19, 2012
at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on May 23, 2012.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
